
Application for stay, presented to Justice Kennedy, and by him referred to the Court, granted, and it is ordered that the judgment of the United States District Court for the Northern District of Florida, filed July 2, 1992, in case Nos. 92-40015-WS, 92-40131-WS, and 92-40220-WS, is stayed pending the timely filing of a statement as to jurisdiction. Should such a statement be timely filed, this order is to remain in effect pending this Court’s action on the appeal. In the event the judgment is affirmed, or the appeal is dismissed, this order is to terminate automatically. Should jurisdiction be noted or postponed, or should the judgment be summarily vacated or reversed, this order is to remain in effect pending the sending down of the judgment of this Court.
